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                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA


 UNITED STATES OF AMERICA,

                       Plaintiff,
               vs.                           JUDGMENT OF DISMISSAL
 JOSIAH KEVIN HARRIS (2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

_x___ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

___
  X_ of the offense(s) as charged in the Information and Superseding
     Information:

     18 USC 111(a) and (b); 18 USC 2; 18 USC 1708 - Assault on a Federal

     Officer; Aiding And Abetting; Theft of Stolen Mail Matter

          IT IS THEREFORE ADJUDGED that            ~~~(~~t      is hereby discharged.


 DATED: May 7, 2015
                                             Karen S. Crawford
                                             U.S. Magistrate Judge
